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                       UNITED STATES COURT OF INTERNATIONAL TRADE


JSW STEEL (USA) INC.

                       Plaintiff,                                   Court No. 19-00133

          – against –                                               COMPLAINT

UNITED STATES,

                       Defendant.



          Plaintiff JSW Steel (USA) Inc. (“JSW USA”), by its undersigned attorneys, Chaffetz

Lindsey LLP, for its Complaint against Defendant United States, acting by and through the U.S.

Department of Commerce, alleges as follows:

                                      NATURE OF THE ACTION

      1.            In March 2018, the President, acting pursuant to Section 232 of the Trade

Expansion Act of 1962, as amended (19 U.S.C. § 1862), imposed a 25% tariff on steel imports.

The President’s Proclamation recognized that these tariffs could have unintended consequences

for U.S. businesses that rely on imports of steel products not otherwise immediately available in

the domestic market. The Proclamation therefore expressly directed the Department of

Commerce to grant exclusions from the Section 232 tariffs to U.S.-based businesses for imported

steel products that are not immediately available in sufficient quality and quantity in the United

States.

          2.        According to the Department of Commerce, the purpose of the exclusion was:

               [T]o protect downstream manufacturers that rely on products not produced by
               U.S. domestic industry at this time. The guiding principle is that, if U.S.
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              domestic industry does not or will not produce a given steel or aluminum
              product of the quality needed by users in the United States, companies that
              rely on those products will not pay duties on them.

Submissions of Exclusion Requests and Objections to Submitted Requests for Steel and

Aluminum, 83 Fed. Reg. 46,026, 46,038–39 (Sept. 11, 2018).

         3.        JSW USA owns and operates a facility in Baytown, Texas, where it

manufacturers steel plate and pipe for use in critical infrastructure projects, such as natural gas

and oil transmission pipelines, shipbuilding, transmission pole towers, wind towers, railroad tank

cars, and other heavy-equipment industries that need high-quality steel plate and pipe products.

In order to produce these steel products, JSW USA requires a reliable quantity of high-quality

steel slab feedstock. Because this product is not available in the U.S. market in the quality and

quantities that JSW USA requires, it has been importing the necessary steel slab into its Baytown

plant.

         4.        Nevertheless, because it is committed to improving domestic steel manufacturing,

JSW USA and its parent JSW Steel Ltd. are in the process of investing hundreds of millions of

dollars to upgrade the Baytown, Texas facility. This, in turn, will create hundreds of new jobs at

the Baytown plant.

         5.        The Baytown project is part of the JSW Group’s overall commitment to the

United States steelmaking industry. In addition to Baytown, the JSW Group recently purchased

a steel mill in Mingo Junction, Ohio, where it is investing hundreds of millions of dollars to

upgrade that facility. Through these substantial investments, JSW USA is creating hundreds of

jobs throughout the United States.

         6.        However, at least until all of this work is completed, JSW USA must continue to

rely on imported steel slab from India and Mexico to sustain the plant. JSW USA therefore

applied for narrowly tailored, short-term exclusions from the Section 232 steel tariffs so that it

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could continue to operate its U.S. steel plate and line pipe facilities while it proceeds with the

construction of its new state-of-the-art facilities.

        7.      Despite the foregoing, the Department of Commerce ignored the record evidence

establishing that the steel slab JSW USA imports is not presently available in the U.S. market,

and instead issued the same boilerplate denial to each and every one of JSW USA’s exclusion

requests. As a result, JSW USA has paid tens-of-millions of dollars in tariffs from which it

should have been exempted. In denying JSW USA’s exclusion requests, the Department yielded

to the objections of three competitive domestic steel producers – United States Steel Corporation,

AK Steel Corporation, and Nucor Corporation – which filed thousands of objections to their

domestic competitors’ exclusion requests. In their objections, the companies claimed, without

any evidence, that they could supply at least 85 million metric tons of steel when (a) their total

capacity is only 35 million metric tons and (b) they do not and cannot produce many of the types

and sizes of products needed.

        8.      In sustaining the domestic competitors’ objections, the Department undertook no

effort to verify their claims, ignored the conclusive evidence that these companies are unable to

produce the subject products in the required quality or quantity, and failed even to offer any

reasoned basis for its decisions. Thus, the Department effectively abandoned the standards

established by Proclamation 9705 and the Department’s own regulations, thereby depriving JSW

USA of its right to due process and fair treatment. In short, the Department’s actions were

arbitrary, capricious, and an abuse of discretion, in flagrant violation of the Administrative

Procedure Act. See 5 U.S.C. §§ 701 et seq.

                                          JURISDICTION

        9.      This Court has exclusive jurisdiction over this action pursuant to 28 U.S.C. §

1581(i)(2) and (4) because it concerns claims against the United States or its agencies arising out

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of laws concerning “tariffs, duties, fees, or other taxes on the importation of merchandise for

reasons other than the raising of revenue” and the “administration and enforcement” of such

laws.

                               THE PARTIES AND STANDING

        10.    JSW Steel (USA) Inc. manufactures steel plate and longitudinal submerged arc

welded pipe for use in critical infrastructure projects in the United States.

        11.    JSW USA has standing to bring this action because it has been adversely affected

or aggrieved by agency action within the meaning of Section 702 of Title 5 of the United States

Code, namely the Department of Commerce’s wrongful denial of JSW USA’s requests for

exclusions from Section 232 steel tariffs. 28 U.S.C. § 2631(i); 5 U.S.C. § 702.

        12.    Defendant is the United States of America, acting by and through the U.S.

Department of Commerce (the “Department”).


                                  FACTUAL BACKGROUND

        A.     Statutory and Regulatory Background

        13.    Section 232 of the Trade Expansion Act of 1962, as amended (19 U.S.C. § 1862),

authorizes the Secretary of Commerce, in coordination with the Secretary of Defense, to conduct

an investigation “to determine the effects on the national security of imports” of any articles.

Upon completing this investigation, the Secretary must provide the President with a report

advising whether the articles under investigation are “being imported into the United States in

such quantities or under such circumstances as to threaten to impair the national security.” 19

U.S.C. § 1862(b)(1)(A), (3)(A).

        14.    If the President concurs with the Secretary’s finding that a threat exists, the

President shall “determine the nature and duration of the action that, in the judgment of the



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President, must be taken to adjust the imports of the article and its derivatives so that such

imports will not threaten to impair the national security.” Id. § 1862(c)(1)(A)(ii).

       15.     Pursuant to Section 232, on March 8, 2018, President Trump issued Proclamation

9705, imposing additional duties on imports of steel. The Proclamation further directed the

Secretary of Commerce to grant exclusions from these tariffs if the Secretary determines that any

steel product for which an exclusion is requested is not “produced in the United States in a

sufficient and reasonably available amount or of a satisfactory quality.” Adjusting Imports of

Steel into the United States, Pres. Proc. No. 9705, 83 Fed. Reg. 11,625, 11,627 (Mar. 8, 2018).

       16.     On March 19, 2018, the Department of Commerce, through its Bureau of Industry

and Security (“BIS”), issued an interim final rule (codified at 15 C.F.R. pt. 705, supp. 1) setting

forth the circumstances in which the Department would grant a tariff exclusion to directly

affected U.S. businesses. Following a notice and comment period, on September 11, 2018, the

Secretary supplemented the rules for tariff exclusion requests. See Submissions of Exclusion

Requests and Objections to Submitted Requests for Steel and Aluminum, 83 Fed. Reg. 46,026

(Sept. 11, 2018).

       17.     The Rule adopted by the Department of Commerce sets forth the procedures for

affected parties to request tariff exclusions. It also provides that domestic producers may object

if they are capable of promptly providing the imported product in the United States.

       18.     The Department’s Rule provides that a product is “not produced in the United

States in a sufficient and reasonably available amount” if:

         the amount of steel that is needed by the end user requesting the exclusion is
         not available immediately in the United States to meet its specified business
         activities. “Immediately” means whether the product is currently being
         produced or could be produced “within eight weeks” in the amount needed in
         the business activities of the user of steel in the United States described in the
         exclusion request.


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15 C.F.R. pt. 705, supp. 1(c)(6)(i).

        19.     The Department further defined when a steel product is “not produced in the

United States in a satisfactory quality”:

          The exclusion review criterion “not produced in the United States in a
          satisfactory quality” does not mean that the steel needs to be identical, but it
          does need to be equivalent as a substitute product. “Substitute product” for
          purposes of this review criterion means that the steel being produced by an
          objector can meet “immediately” . . . the quality (e.g., industry specs or
          internal company quality controls or standards), regulatory, or testing
          standards, in order for the U.S. produced steel to be used in that business
          activity in the United States by that end user.

Id. pt. 705, supp. 1(c)(6)(ii).

        20.     The Department’s Rule plainly and sensibly places the burden on objectors to

demonstrate that they can produce the “substitute product” within the requisite timeframe:

          The objection should clearly identify, and provide support for, its opposition
          to the proposed exclusion, with reference to the specific basis identified in,
          and the support provided for, the submitted exclusion request. If the objector
          is asserting that it is not currently producing the steel identified in an
          exclusion request but can produce the steel within eight weeks (meaning the
          objector meets the definition of being able to supply the steel “immediately”
          in order to meet the demand identified in the exclusion request), the objector
          must identify how it will be able to produce the article within eight weeks.
          This requirement includes specifying in writing to the U.S. Department of
          Commerce as part of the objection, the timeline the objector anticipates in
          order to start or restart production of the steel included in the exclusion
          request to which it is objecting.

Id. pt. 705, supp. 1(d)(4).

        B.      JSW’s Requests for Exclusion from Section 232 Tariffs

        21.     On April 17, 2018, JSW USA filed six requests for exclusions from the Section

232 tariff for certain steel slab, manufactured by its parent company, JSW Steel Ltd., in India.

The six requests were limited to alloy and non-alloy steel slabs produced to nominal thicknesses

of 8 inches (203 mm), 10 inches (254 mm), or 12 inches (305 mm), and a width over 70 inches

(1778 mm).


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       22.     Pursuant to Proclamation 9740, beginning June 1, 2018, the Section 232 tariffs

also applied to steel imports from Mexico. See Adjusting Imports of Steel into the United States,

Pres. Proc. No. 9740, 83 Fed. Reg. 20,683, 20,685 (Apr. 30, 2018). Accordingly, on June 4,

2018, JSW USA filed six exclusion requests for similar steel slab that it imports from

ArcelorMittal Mexico. The six requests were limited to alloy and non-alloy steel slabs produced

to a nominal thickness of 7.8 inches (197 mm), 8.8 inches (223 mm), or 9.8 inches (247 mm),

and a width over 70 inches (1778 mm).

       23.     The following tables summarize JSW USA’s exclusion requests and the

corresponding rulings from the Department for steel slab imports from India (Table 1) and

Mexico (Table 2).




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                                         Table 1
             Exclusion Requests for Alloy and Non-alloy Steel Slab from India

                                                          Harmonized
    Number           Date Filed        Description      Tariff Schedule     Date Denied
                                                             Code
BIS-2018-0006-    April 17, 2018    Non-alloy semi-     7207120050        April 19, 2019
1218                                finished,
                                    thickness 195
                                    mm – 230 mm
BIS-2018-0006-    April 17, 2018    Non-alloy semi-     7207120050        April 19, 2019
1221                                finished,
                                    thickness 235
                                    mm – 270 mm
BIS-2018-0006-    April 17, 2018    Non-alloy semi-     7207120050        April 19, 2019
1227                                finished,
                                    thickness 275
                                    mm – 310 mm
BIS-2018-0006-    April 17, 2018    Alloy semi-         7224900055        April 19, 2019
2335                                finished,
                                    thickness 195
                                    mm – 230 mm
BIS-2018-0006-    April 17, 2018    Alloy semi-         7224900055        April 19, 2019
2336                                finished,
                                    thickness 235
                                    mm – 270 mm
BIS-2018-0006-    April 17, 2018    Alloy semi-         7224900055        April 19, 2019
2337                                finished,
                                    thickness 275
                                    mm – 310 mm




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                                          Table 2
             Exclusion Requests for Alloy and Non-alloy Steel Slab from Mexico

                                                              Harmonized
    Number             Date Filed         Description       Tariff Schedule       Date Denied
                                                                 Code
BIS-2018-0006-      June 4, 2018        Non-alloy semi-     7207120050          May 8, 2019
29462                                   finished,
                                        thickness 172
                                        mm – 207 mm
BIS-2018-0006-      June 4, 2018        Alloy semi-         7224900055          May 8, 2019
29465                                   finished,
                                        thickness 172
                                        mm – 207 mm
BIS-2018-0006-      June 4, 2018        Non-alloy semi-     7207120050          May 8, 2019
29470                                   finished,
                                        thickness 198
                                        mm – 233 mm
BIS-2018-0006-      June 4, 2018        Alloy semi-         7224900055          May 8, 2019
29474                                   finished,
                                        thickness 198
                                        mm – 233 mm
BIS-2018-0006-      June 4, 2018        Non-alloy semi-     7207120050          May 8, 2019
29481                                   finished,
                                        thickness 222
                                        mm – 257 mm
BIS-2018-0006-      June 4, 2018        Alloy semi-         7224900055          May 8, 2019
29484                                   finished,
                                        thickness 222
                                        mm – 257 mm

       24.     Three companies, Nucor Corporation (“Nucor”), United States Steel Corporation

(“U.S. Steel”), and AK Steel Corporation (“AK Steel”), filed the same blanket objections to JSW

USA’s exclusion requests as they filed in response to thousands of other requests by their

domestic competitors. The objectors claimed, without any support, that AK Steel and U.S. Steel

could manufacture the slabs in the quality and quantity JSW USA needs within the requisite

timeframe. The only actual proof in the record, however, is the evidence submitted by JSW

USA, showing that none of the objectors could provide a suitable replacement for the imported



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slab, let alone in a timely manner. Hence, JSW USA is plainly entitled to its requested

exclusions under 15 C.F.R. pt. 705, supp. 1.

               1.      The steel slab JSW USA imports is “not produced in the United States
                       in sufficient and reasonably available amount”

       25.     The slab JSW USA requires is “not produced in the United States in sufficient and

reasonably available amount” for a variety of reasons, including most importantly that no

domestic supplier has the capacity to produce slab in the required dimensions. Nucor admits that

it cannot produce slab in any of the thicknesses for which JSW USA sought an exclusion. U.S.

Steel and AK Steel also lack the capability to produce the 8.8 inch, 9.8 inch, 10 inch, or 12 inch

slab covered by JSW USA’s exclusion requests. While U.S. Steel and AK Steel do produce

limited amounts of 7.8 and 8 inch slab, they consume this steel themselves, and therefore are not

a viable source of supply for JSW USA. The objectors have offered no evidence to the contrary.

               2.      The steel slab JSW USA imports is “not produced in the United States
                       in satisfactory quality”

       26.     Even if the objectors had the capacity to provide the sizes and requisite quantity

of steel slab that JSW USA imports (and they do not), their slab is not of “satisfactory quality” to

meet JSW USA’s requirements. It therefore does not qualify as a “substitute product” under the

Department’s regulation. See 15 C.F.R. pt. 705, supp. 1(c)(6)(ii).

       27.     JSW USA does not use its slab feedstock to produce commodity-grade steel

products. Rather, it uses the bulk of the imported slab in the production of large diameter welded

steel pipe that must meet very specific technical requirements to produce X70, X80 or higher

grade steel to satisfy the American Petroleum Institute (“API”) specifications, as its customers

require. JSW USA also uses this imported slab to produce high-grade steel products for use in

manufacturing rail cars, wind towers, pole towers, and pressure vessels. None of the objectors is

qualified to produce X70 or higher grade steel. The objectors also lack adequate reconditioning


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facilities, so that any slab they could produce would be susceptible to transverse and longitudinal

cracking, making it unsuitable for JSW USA’s production needs.

                3.      The objectors failed to meet the requirement that they provide
                        specific written evidence of their ability to provide the substitute
                        product “immediately”

        28.     All three objectors failed to provide any evidence that they could produce the

imported slab “immediately,” i.e., within 8 weeks, as required by the Department’s Rule. See 15

C.F.R. pt. 705, supp. 1(d)(4). Even if AK Steel and U.S. Steel had the capability to produce steel

slab suitable to feed JSW USA’s operations, they admit they could only do so by restarting idle

facilities.

        29.     The Department’s regulation requires an objector who asserts that “it is not

currently producing the steel identified in an exclusion request . . . [to] identify how it will be

able to the produce the article within eight weeks.” See id. To meet its burden, the objector must

“specify[] in writing . . . the timeline the objector anticipates in order to start or restart production

of the steel included in the exclusion request to which it is objecting.” See id. Nucor did not

claim it could supply the steel slab and neither AK Steel nor U.S. Steel provided any specific

written timeline, as required under the Rule, for restarting their idle mills, let alone equipping

those mills, as would be necessary to produce slabs in the chemistries and dimensions covered by

JSW USA’s exclusion requests. Having failed to meet their burden, under its Rule the

Department should not have considered these objections. Id. pt. 705, supp. 1(h)(1)(ii).

        30.     Further, neither U.S. Steel nor AK Steel could produce the slab “immediately” –

i.e., within 8 weeks – because, as these objectors well know, under ordinary circumstances

testing and qualifications alone would require at least 8 to 10 months. Here, since U.S. Steel and

AK Steel lack the requisite reconditioning facilities, the qualification process would be even

more difficult and time consuming. Thus, as the objectors knew when they filed their objections,

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even if they could ultimately meet the requisite technical specifications, it would take well in

excess of 8 months before they could even be in a position to provide slab to JSW USA. This

was clear from the parties’ submissions to the Department.

        C.      The Department’s Denial of JSW’s Exclusion Requests

        31.     According to the Department’s regulations, it should decide each exclusion

request no later than 106 days after submission. See id. pt. 705, supp. 1(h)(3)(i). Nevertheless,

the Department took more than a year to deny JSW USA’s exclusion requests. When it finally

issued its decisions, the Department simply recited, verbatim, the same boilerplate rejection

language for each of the 12 requests, providing no reasoning whatsoever to support its

conclusions.

        32.     The Department’s denials each parroted the following generic, conclusory

language as the only basis for its decisions:

          In examining whether the relevant steel article is produced in the United
          States in a sufficient and reasonably available amount or of a satisfactory
          quality, ITA [International Trade Administration] recommends finding, based
          on all of the evidence presented, that the product referenced in the above-
          captioned exclusion request is produced in the United States in a sufficient
          and reasonably available amount and of a satisfactory quality, and
          recommends denying the request for an exclusion.

          BIS accepts ITA’s recommended findings as to the domestic availability of
          the product, and finds that no overriding national security concerns require
          that this exclusion request be granted notwithstanding domestic availability.

        33.     This rote, unreasoned denial of JSW USA’s exclusion requests without any

explanation, any consideration of the evidence, or any follow-up inquiry or investigation is, on

its face, arbitrary and capricious.

        34.     Notably, the Department’s decisions denying JSW USA’s requests are part of a

broader pattern in which the Department has rejected thousands of exclusion requests by

providing the same pro forma, conclusory explanation, with no reasoning or analysis. A


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common denominator in these cases is that large competitors such as AK Steel, U.S. Steel, and

Nucor filed objections to the requests. According to a study conducted by the Mercatus Center

at George Mason University, approximately 99 percent of steel tariff exclusion requests were

denied when these companies filed an objection. See Christine McDaniel & Danielle Parks,

Tariff Exclusion Requests: A One-Year Update, Mercatus Center (Apr. 11, 2019),

www.mercatus.org/bridge/commentary/tariff-exclusion-requests-one-year-update (attached

hereto as Exhibit 1).

          35.   Another common feature of the Department’s action, is that it denied all these

exclusion requests, as it did JSW USA’s requests, without (a) demanding proof from the

objectors, (b) developing and adhering to a process designed to ascertain the truth regarding

these unsupported objections, or (c) providing any reasoned basis for its decisions. This flagrant

disregard of the basic requirements of the APA is a quintessential example of unlawful agency

action.

                                           COUNT I
                    (Administrative Procedure Act (5 U.S.C. §§ 701–706))
                Exclusion Requests for alloy and non-alloy steel slab from India

          36.   JSW USA hereby incorporates Paragraphs 1-35 above as if fully restated herein.

          37.   On April 17, 2018, JSW USA submitted Exclusion Request Nos. BIS-2018-0006-

1218, BIS-2018-0006-1221, BIS-2018-0006-1227, BIS-2018-0006-2335, BIS-2018-0006-2336,

and BIS-2018-0006-2337 seeking exclusions from the Section 232 steel tariffs for certain alloy

and non-alloy semi-finished steel slab imported from India.

          38.   Applying the standards set forth in the Department’s Rule (15 C.F.R. pt. 705,

supp. 1) to the evidence in the record, the only reasonable conclusion that the Department could

properly have reached with regard to these exclusion requests was that JSW USA cannot obtain




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slab in the U.S. market in a sufficient quantity or quality on a timely basis to replace the steel

slab it currently imports. Accordingly, JSW USA was and remains entitled to the requested tariff

exclusions. However, on April 19, 2019, the Department denied JSW USA’s requests.

       39.     The Department of Commerce’s decisions denying JSW USA’s requests for

exclusion from the Section 232 steel tariffs, without any evidentiary basis and without any

expressed, reasoned basis for doing so, were “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law.” 5 U.S.C. § 706. They were rendered “without

observance of procedure required by law,” and thus must be held “unlawful and set aside” by

this Court. See 5 U.S.C. §§ 702, 706.

                                         COUNT II
                   (Administrative Procedure Act (5 U.S.C. §§ 701–706))
              Exclusion Requests for alloy and non-alloy steel slab from Mexico

       40.     JSW USA hereby incorporates Paragraphs 1-35 above as if fully restated herein.

       41.     On June 4, 2018, JSW USA submitted Exclusion Request Nos. BIS-2018-0006-

29462, BIS-2018-0006-29465, BIS-2018-0006-29470, BIS-2018-0006-29474, BIS-2018-0006-

29481, and BIS-2018-0006-29484 seeking an exclusion from the Section 232 steel tariffs for

certain alloy and non-alloy semi-finished steel slab imported from Mexico.

       42.     Applying the standards set forth in the Department’s Rule (15 C.F.R. pt. 705,

supp. 1) to the evidence in the record, the only reasonable conclusion that the Department could

properly have reached with regard to these exclusion requests was that JSW USA cannot obtain

slab in the U.S. market in a sufficient quantity or quality on a timely basis to replace the steel

slab it currently imports. Accordingly, JSW USA was and remains entitled to the requested tariff

exclusions. However, on May 8, 2019, the Department denied JSW USA’s requests.

       43.     The Department of Commerce’s decisions denying JSW USA’s requests for




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exclusion from the Section 232 steel tariffs, without any evidentiary basis and without any

expressed, reasoned basis for doing so, were “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law.” 5 U.S.C. § 706. They were rendered “without

observance of procedure required by law,” and thus must be held “unlawful and set aside” by

this Court. See 5 U.S.C. §§ 702, 706.

                                    REQUEST FOR RELIEF

WHEREFORE, JSW USA respectfully requests that this Court enter judgment as follows:

         (i)     Declaring that the Department of Commerce’s denials of JSW USA’s exclusion
                 requests were arbitrary and capricious or otherwise unlawful in violation of the
                 APA (5 U.S.C. §§ 701 et seq.);

         (ii)    Declaring that JSW USA is entitled to the requested exclusions from the Section
                 232 steel tariffs, in accordance with Proclamation 9705 and 15 C.F.R. pt. 705,
                 supp. 1, and ordering the Department of Commerce to instruct Customs and
                 Border Patrol to refund the Section 232 tariffs previously paid by JSW USA;

         (iii)   Alternatively, remanding the matter to the Department of Commerce for proper
                 treatment and consideration, in accordance with the requirements of the APA;

         (iv)    Awarding JSW USA such other relief as the Court deems just and proper.

Dated:           New York, New York
                 July 30, 2019




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                                    Respectfully submitted:

                                    CHAFFETZ LINDSEY LLP

                                    By:      /s/ Sanford Litvack

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